     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 1 of 11 Page ID #:341




1

2

3

4

5

6

7

8                                      UNITED STATES DISTRICT COURT

9                                 CENTRAL DISTRICT OF CALIFORNIA

10

11    CALABASAS LUXURY MOTORCARS,                )   Case No. CV 21-8805 FMO (ASx)
      INC.,                                      )
12                                               )
                          Plaintiff,             )
13                                               )   ORDER Re: PENDING MOTIONS
                   v.                            )
14                                               )
      MERCEDES-BENZ USA, LLC, et al.,            )
15                                               )
                          Defendants.            )
16                                               )

17          Having reviewed and considered all the briefing filed with respect to defendant Mercedes-

18    Benz Financial Services USA LLC’s (“MBFS”) Motion to Dismiss [], (Dkt. 21, “MBFS Motion”), and

19    defendant Mercedes-Benz USA, LLC’s (“MBUSA”) Motion to Dismiss [], (Dkt. 23, “MBUSA

20    Motion”), the court finds that oral argument is not necessary to resolve the motions, see Fed. R.

21    Civ. P. 78(b); Local Rule 7-15; Willis v. Pac. Mar. Ass’n, 244 F.3d 675, 684 n. 2 (9th Cir. 2001),

22    and concludes as follows.

23                                            BACKGROUND

24          On November 8, 2021, Calabasas Luxury Motorcars, Inc. (“plaintiff”) filed a putative class

25    action alleging that defendants MBFS and MBUSA (together, “defendants”) violated California’s

26    Unfair Competition Law, Cal. Bus. & Prof. Code §§ 17200, et seq. (“UCL”). (Dkt. 1, Complaint

27    at ¶¶ 52-77). On December 31, 2021, plaintiff filed the operative First Amended Class Action

28
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 2 of 11 Page ID #:342




1     Complaint (Dkt. 20, “FAC”), adding a claim for violation of the Cartwright Act, Cal. Bus. & Prof.

2     Code §§ 16700, et seq. (See Dkt. 20, FAC at ¶¶ 67-77).

3            Plaintiff alleges that the COVID-19 pandemic led to a “confluence of low supply and high

4     demand” for vehicles that “catapulted used and new car prices to record highs.” (Dkt. 20, FAC at

5     ¶¶ 23-24). As a result, “many lessees whose lease terms have either not yet expired or are

6     expiring have found themselves in possession of vehicles whose market values . . . are

7     significantly more than the amounts owed on their respective leases[.]” (Id. at ¶¶ 25-26).

8     According to plaintiff, many lessees, “realizing that the value of their vehicles exceeds the payoff

9     of their vehicles, have sought to either terminate their leases early and sell their vehicles, or sell

10    their vehicles at the end of their leases rather th[a]n turning the vehicles over to MBFS[,]” which

11    leases Mercedes vehicles in the United States. (Id. at ¶¶ 6, 27).

12           With this backdrop, plaintiff alleges that defendants adopted practices with the intent of

13    “impeding and frustrating the ability of non-Mercedes franchise dealerships to accept MBFS

14    leased Mercedes vehicles as trade in vehicles while simultaneously intentionally impeding and

15    frustrating the ability of consumers to sell their MBFS leased Mercedes vehicles to non-Mercedes

16    franchise dealerships.” (Dkt. 20, FAC at ¶ 42). Specifically, plaintiff alleges that MBFS “refuses

17    to provide payoff quotes to non-franchise dealers but will provide payoff quotes to franchise

18    dealers[,]” making it “difficult if not impossible for non-franchise dealerships to structure deals

19    relating to the acquisition of said vehicles[.]” (Id. at ¶ 45(a)). Also, MBFS “sends the title” of a paid-

20    off used MBFS leased vehicle “to the lessee, not the entity paying the vehicle off” and only

21    “cooperates with titling instructions if the acquiring dealership is a Mercedes franchise

22    dealership[.]” (Id. at ¶ 45(b)). According to plaintiff, defendants “have colluded with each other”

23    to engage in these practices to:

24                   (1) ensur[e] to the greatest degree possible that only Mercedes franchise

25                   dealerships have access to MBFS leased Mercedes vehicles after they are

26                   traded in or sold at the end of the lease term; and (2) ensur[e] Defendants

27                   and Mercedes franchise dealers capture as much profit as possible by

28                   Mercedes franchise dealerships getting these vehicles, designating the[m]

                                                          2
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 3 of 11 Page ID #:343




1                      as ‘Certified Pre-Owned’ . . . to make more money, and then reselling the

2                      vehicles to consumers who will finance the vehicles with MBFS.

3     (Id. at ¶ 53).

4                                            LEGAL STANDARD

5            A motion to dismiss for failure to state a claim should be granted if plaintiff fails to proffer

6     “enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly

7     (“Twombly”), 550 U.S. 544, 570, 127 S.Ct. 1955, 1974 (2007); Ashcroft v. Iqbal (“Iqbal”), 556 U.S.

8     662, 678, 129 S.Ct. 1937, 1949 (2009); Cook v. Brewer, 637 F.3d 1002, 1004 (9th Cir. 2011). “A

9     claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

10    the reasonable inference that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S.

11    at 678, 129 S.Ct. at 1949; Cook, 637 F.3d at 1004; Caviness v. Horizon Cmty. Learning Ctr., Inc.,

12    590 F.3d 806, 812 (9th Cir. 2010). Although the plaintiff must provide “more than labels and

13    conclusions, and a formulaic recitation of the elements of a cause of action will not do,” Twombly,

14    550 U.S. at 555, 127 S.Ct. at 1965; Iqbal, 556 U.S. at 678, 129 S.Ct. at 1949; see also Cholla

15    Ready Mix, Inc. v. Civish, 382 F.3d 969, 973 (9th Cir. 2004) (“[T]he court is not required to accept

16    legal conclusions cast in the form of factual allegations if those conclusions cannot reasonably be

17    drawn from the facts alleged. Nor is the court required to accept as true allegations that are

18    merely conclusory, unwarranted deductions of fact, or unreasonable inferences.”) (citations and

19    internal quotation marks omitted), “[s]pecific facts are not necessary; the [complaint] need only

20    give the defendant[s] fair notice of what the . . . claim is and the grounds upon which it rests.”

21    Erickson v. Pardus, 551 U.S. 89, 93, 127 S.Ct. 2197, 2200 (2007) (per curiam) (internal quotation

22    marks omitted); Twombly, 550 U.S. at 555, 127 S.Ct. at 1964.

23           In considering whether to dismiss a complaint, the court must accept the allegations of the

24    complaint as true, Erickson, 551 U.S. at 93-94, 127 S.Ct. at 2200; Albright v. Oliver, 510 U.S. 266,

25    268, 114 S.Ct. 807, 810 (1994), construe the pleading in the light most favorable to the pleading

26    party, and resolve all doubts in the pleader’s favor. See Jenkins v. McKeithen, 395 U.S. 411, 421,

27    89 S.Ct. 1843, 1849 (1969); Berg v. Popham, 412 F.3d 1122, 1125 (9th Cir. 2005). Nevertheless,

28    dismissal for failure to state a claim can be warranted based on either a lack of a cognizable legal

                                                        3
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 4 of 11 Page ID #:344




1     theory or the absence of factual support for a cognizable legal theory. See Mendiondo v.

2     Centinela Hosp. Med. Ctr., 521 F.3d 1097, 1104 (9th Cir. 2008).

3                                                DISCUSSION

4     I.     CARTWRIGHT ACT CLAIM.

5            The court will grant defendants’ Motions and dismiss plaintiff’s Cartwright Act claim with

6     leave to amend. In preparing the Second Amended Complaint, plaintiff should carefully evaluate

7     the issues discussed in this Order as well as the contentions set forth in defendants’ Motions. The

8     Cartwright Act “prohibits the combination of resources . . . for the purpose of restraining commerce

9     and preventing market competition[.]” G.H.I.I. v. MTS, Inc., 147 Cal.App.3d 256, 266 (1983). To

10    state a claim under the Cartwright Act, a plaintiff must allege “(1) the formation and operation of

11    the conspiracy, (2) the wrongful act or acts done pursuant thereto, and (3) the damage resulting

12    from such act or acts.” Quelimane Co. v. Stewart Title Guar. Co., 19 Cal.4th 26, 47 (1998), as

13    modified (Sept. 23, 1998) (internal quotation marks omitted). Additionally, “it is well settled that

14    a complaint for antitrust violations which fails to allege . . . concerted action by separate entities

15    maintaining separate and independent interests” is insufficient. G.H.I.I., 147 Cal.App.3d at 266.

16           In Copperweld Corp. v. Indep. Tube Corp. 467 U.S. 752, 104 S.Ct. 2731 (1984), the

17    Supreme Court held that a corporation “and its wholly owned subsidiary [] are incapable of

18    conspiring with each other for purposes of § 1 of the Sherman Act.” Id. at 777, 104 S.Ct. at 2745.

19    Plaintiff alleges that MBUSA and MBFS – two wholly owned subsidiaries of Daimler AG1 – violated

20

21

22
             1
23               MBFS filed a Request for Judicial Notice [], (Dkt. 22, “RJN”), attaching an excerpt of
      Daimler AG’s 2020 Annual Report listing Daimler AG’s subsidiaries. (See Dkt. 22, Exh. 1, at 247-
24    248) (showing that Daimler AG holds a 100% equity interest in both MBFS and MBUSA). Plaintiff
      did not oppose the RJN, (see, generally, Dkt.), and plaintiff does not contest that defendants are
25    wholly owned subsidiaries of Daimler AG. (See, generally, Dkt. 33, Plaintiff’s Opposition to
26    Defendant Mercedes-Benz USA’s Motion to Dismiss (“Opp. to MBUSA Motion”)); (Dkt. 34,
      Plaintiff’s Opposition to Defendant Mercedes-Benz Financial Services’ Motion to Dismiss (“Opp.
27    to MBFS Motion”)); see also Risto v. Screen Actors Guild - Am. Fed’n of Television & Radio
      Artists, 2018 WL 7016345, *5 (C.D. Cal. 2018) (granting defendants’ request for judicial notice of
28    annual reports because “annual reports are readily noticeable.”).

                                                        4
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 5 of 11 Page ID #:345




1     the Cartwright Act2 by “enter[ing] into a continuing contract, combination, or conspiracy to

2     unreasonably restrain trade and commerce[.]” (Dkt. 20, FAC at ¶ 68). According to plaintiff,

3     defendants are indirect subsidiaries of Daimler AG because they are “each owned by separate

4     subsidiaries of Daimler[.]” (Dkt. 33, Opp. to MBUSA Motion at 14-15); (Dkt. 34, Opp. to MBFS

5     Motion at 17-18) (same). Thus, plaintiff contends, “Copperweld does not apply to allegations of

6     conspiracy which only allege the involvement of two subsidiaries and not the parent[.]” (Dkt. 33,

7     Opp. to MBUSA Motion at 13); (Dkt. 34, Opp. to MBFS Motion at 16) (same). Plaintiff’s

8     contentions are unpersuasive.

9            While the Ninth Circuit has not directly addressed the issue of whether two subsidiaries –

10    even indirect subsidiaries – can engage in anti-competitive conduct, every circuit court that has

11    addressed the issue has concluded that the Copperweld rationale applies to subsidiaries wholly

12    owned by the same parent. See, e.g., Advanced Health-Care Servs., Inc. v. Radford Cmty. Hosp.,

13    910 F.2d 139, 145 (4th Cir. 1990) (in addressing “whether concerted action between two

14    subsidiaries of the same parent corporation, or more precisely, between a subsidiary of one

15    subsidiary and another subsidiary of the same parent corporation, can lead to Sherman [Act] § 1

16    liability[,] . . . we conclude that two subsidiaries wholly owned by the same parent corporation are

17    legally incapable of conspiring with one another for purposes of § 1 of the Sherman Act.”);

18    Gonzalez-Maldonado v. MMM Healthcare, Inc., 693 F.3d 244, 249 (1st Cir. 2012) (explaining that

19    Copperweld’s “rationale and underlying policy apply with equal force to sister corporations that are

20    wholly owned subsidiaries of the same parent” and are therefore “a single economic unit” which

21    “cannot violate section 1's conspiracy prohibition[.]”); Hood v. Tenneco Texas Life Ins. Co., 739

22    F.2d 1012, 1015 (5th Cir. 1984) (“Copperweld teaches us that because [the wholly owned

23    subsidiaries] share a common purpose with Tenneco they cannot conspire with their parent in

24    violation of the Sherman Act. By the same token, neither can they conspire with one another.”);

25

26           2
                In general, “[t]he analysis under California’s antitrust law mirrors the analysis under
27    federal law because the Cartwright Act, Cal. Bus. & Prof. Code § 16700 et seq., was modeled after
      the Sherman Act.” Cnty. of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1160 (9th Cir.
28    2001).

                                                       5
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 6 of 11 Page ID #:346




1     Directory Sales Mgmt. Corp. v. Ohio Bell Tel. Co., 833 F.2d 606, 611 (6th Cir. 1987) (“We agree

2     with the Fifth Circuit that Copperweld precludes a finding that two wholly-owned sibling

3     corporations can combine for the purposes of section 1 [of the Sherman Act].”). As a court in the

4     Northern District of California stated in a case involving one “wholly-owned subsidiary of Hitachi”

5     and another “wholly-owned subsidiary of Hitachi Data Holding Company, which is 80% owned by

6     Hitachi[,]” sister subsidiaries and the parent corporation “all act pursuant to the same interests and

7     goals: the distribution of Hitachi’s products. Two sister subsidiaries of the same parent over which

8     the parent has legal control are legally incapable of conspiring in violation of § 1 [of the Sherman

9     Act] for the same reasons Copperweld found that a parent and its wholly-owned subsidiary could

10    not conspire.” Bell Atl. Bus. Sys. Servs. v. Hitachi Data Sys. Corp. (“Bell Atlantic”), 849 F.Supp.

11    702, 707 (N.D. Cal. 1994).3

12            The court is also unpersuaded that plaintiff can allege an antitrust violation in a market

13    limited solely to “MBFS leased Mercedes vehicles.” (Dkt. 20, FAC at ¶ 58). Plaintiff contends that

14    the challenged conduct constitutes a vertical restraint of trade. (Dkt. 33, Opp. to MBUSA Motion

15    at 16). The term “vertical restraint” refers to a “combination[] of persons at different levels of the

16    market structure, e.g., manufacturers and distributors” as opposed to a horizontal restraint, which

17    involves “an agreement between competitors at the same level of the market structure.” United

18    States v. Topco Assocs., Inc., 405 U.S. 596, 608, 92 S.Ct. 1126, 1133 (1972).

19           A vertical restraint of trade is analyzed under the rule of reason. Flagship Theatres of Palm

20    Desert, LLC v. Century Theatres, Inc., 55 Cal.App.5th 381, 406 (2020) (“The California Supreme

21    Court has not yet addressed the general treatment of vertical restraints under the Cartwright Act[.]

22    . . . But California Courts of Appeal generally analyze vertical restraints under the rule of

23    reason.”). “[I]t is the plaintiff’s burden to show that the challenged vertical restraint had a

24
             3
               The court is not convinced by plaintiff’s reliance on In re Ray Dobbins Lincoln-Mercury,
25    Inc. v. Ford Motor Co. (“Ray Dobbins”), 604 F.Supp.203 (W.D. Va.1984). As the court in Bell
26    Atlantic noted, “the Fourth Circuit subsequently disapproved th[e Ray Dobbins] decision with its
      decision in Advanced Health-Care Serv[s], Inc.[].” Bell Atlantic, 849 F.Supp. at 706; see also
27    Advanced Health-Care Servs., Inc., 910 F.2d at 145. For the same reason, the court is
      unpersuaded by various other cases plaintiff cites which rely on Ray Dobbins. (See Dkt. 34, Opp.
28    to MBFS Motion at 15-16).

                                                        6
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 7 of 11 Page ID #:347




1     substantially adverse effect on competition in the relevant market, and thereby harms competition

2     more than promotes it.” Ben-E-Lect v. Anthem Blue Cross Life & Health Ins. Co., 51 Cal.App.5th

3     867, 873 (2020), as modified on denial of reh'g (July 22, 2020); see Exxon Corp. v. Super. Ct., 51

4     Cal.App.4th 1672, 1680-81 (1997) (“Vertical non-price restraints are tested under the rule of

5     reason; that is, the plaintiff must prove that the restraint had an anticompetitive effect in the

6     relevant market in order to prevail[.]”). However, “an antitrust plaintiff attacking vertical restraints

7     cannot make out a case unless the plaintiff can show some anti-competitive effect in the larger,

8     interbrand market.” Exxon Corp., 51 Cal.App.4th at 1681 (noting the “long line of federal cases

9     stand[ing] for the general proposition that vertical restraints are permissible unless a harmful effect

10    on interbrand competition and an anticompetitive purpose be shown[,]” which is “consistent with

11    the many cases holding that a supplier cannot have a monopoly, normally, in its own product.”).

12           Here, the FAC deals extensively with defendants’ alleged anticompetitive behavior with

13    regard to used MBFS leased vehicles,4 but offers only generalized allegations regarding the

14    interbrand market. (See, e.g., Dkt. 20, FAC at ¶¶ 6, 44) (“As a result of Defendants’ unlawful

15    conduct, Plaintiff and other members of the class have paid artificially inflated prices for used

16    vehicles”; “Defendants and Mercedes franchise dealerships thus have intentionally exerted

17    unlawful control over the market, thereby harming and interfering with the marketplace for used

18    vehicles.”). In response to defendants’ argument that plaintiff “alleges no facts suggesting MBFS’s

19    trade-in policy impacts the larger market for used vehicles, including brands other than Mercedes

20

21           4
                (See, e.g., Dkt. 20, FAC at ¶¶ 3,4, 7, 8, 46) (“Defendants have conspired in an attempt
      to eliminate the competition faced by Mercedes franchise dealerships with regard to the purchase
22
      and sale of used Mercedes vehicles”; “Defendants have placed these artificial and anticompetitive
23    restrictions on the used vehicle market for Mercedes vehicles in order to ensure that Defendants,
      and their franchise dealerships, maintain dominance over the entire market for used Mercedes
24    vehicles”; “Defendants are restraining and attempting to prevent competition within the secondary
      market for the purchase, sale, and trade in of used Mercedes vehicles”; “[i]n seizing control over
25    the secondary market for Mercedes vehicles wherein the lessor is [MBFS], Defendants have
26    thwarted Plaintiff and other dealers’ ability to enter or trade in this market”; “[b]y keeping Mercedes
      vehicles on the ‘Mercedes Merry-go-Round,’ Defendants are not only preventing consumers from
27    selling their vehicles to non-Mercedes franchise dealerships, but Defendants are also preventing
      dealerships, such as Plaintiff, from exercising their rights to purchase these leased vehicles as
28    trade in vehicles.”).

                                                         7
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 8 of 11 Page ID #:348




1     vehicles[,]” (Dkt. 21, MBFS Motion at 23), plaintiff asserts that “the relevant product market

2     consists of all non-Mercedes franchise vehicle dealerships in California[.]” (Dkt. 34, Opp. to

3     MBFS Motion at 25) (emphasis in original); (Dkt. 34, Opp. to MBUSA Motion at 17) (same). But

4     there are no allegations in the FAC that identify harm to the interbrand market. (See, generally,

5     Dkt. 20, FAC). And plaintiff cannot state a Cartwright Act without identifying harm to the interbrand

6     market.5 See Exxon Corp., 51 Cal.App.4th at 1681.

7     II.    UCL CLAIM.

8            To the extent that plaintiff’s UCL claim is predicated on alleged violations of the Cartwright

9     Act, (see Dkt. 20, FAC at ¶ 88), it follows that plaintiff has failed to sufficiently allege a violation

10    of the UCL. See, e.g., Jones v. Micron Tech. Inc., 400 F.Supp.3d 897, 923 (N.D. Cal. 2019)

11    (“Plaintiffs concede their UCL claim is based only upon Defendants’ unlawful anticompetitive

12    behavior. Because the Sherman Act and Cartwright Act violations are insufficiently pled, it follows

13    that Plaintiffs have failed to sufficiently plead a violation of the UCL.”); Persian Gulf Inc. v. BP W.

14    Coast Prod. LLC, 2016 WL 4574357, *6 (S.D. Cal. 2016) (“The UCL claim is entirely derivative of

15    the Cartwright Act claim. Accordingly, as Plaintiff failed to plead a plausible antitrust claim, the

16    motion to dismiss the UCL claim is granted as well.”); City of San Jose v. Off. of the Com'r of

17    Baseball, 776 F.3d 686, 691-92 (9th Cir. 2015) (“[U]nder California law, if the same conduct is

18    alleged to be both an antitrust violation and an ‘unfair’ business act or practice for the same reason

19    – because it unreasonably restrains competition and harms consumers – the determination that

20    the conduct is not an unreasonable restraint of trade necessarily implies that the conduct is not

21
             5
                Even if other companies – due to the “unprecedented demand for vehicles[,]” (Dkt. 20,
22
      FAC at ¶ 25) – were to adopt defendants’ leasing practices to try to restrict non-franchise dealer
23    trade-ins, the antitrust laws would not prohibit such parallel conduct by independently motivated,
      profit-seeking firms. See Twombly, 550 U.S. at 556-57, 127 S.Ct. at 1966 (“[A]n allegation of
24    parallel conduct and a bare assertion of conspiracy will not suffice. Without more, parallel conduct
      does not suggest conspiracy, and a conclusory allegation of agreement at some unidentified point
25    does not supply facts adequate to show illegality.”); In re Musical Instruments & Equip. Antitrust
26    Litig., 798 F.3d 1186, 1193 (9th Cir. 2015) (“Under Twombly, parallel conduct, such as competitors
      adopting similar policies around the same time in response to similar market conditions, may
27    constitute circumstantial evidence of anticompetitive behavior. But mere allegations of parallel
      conduct – even consciously parallel conduct – are insufficient to state a claim under § 1 [of the
28    Sherman Act].”) (internal citation omitted).

                                                         8
     Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 9 of 11 Page ID #:349




1     ‘unfair’ toward consumers.”) (internal quotation marks omitted); Reilly v. Apple Inc., 2022 WL

2     74162, *9 (N.D. Cal. 2022) (“To the extent the claim is derivative of Plaintiff’s allegations of

3     antitrust violations, the UCL claim falls with those claims.”).

4            However, to the extent plaintiff premises its UCL claim on the violation of some other

5     statute, such as California Vehicle Code § 11709.4, (see Dkt. 20, FAC at ¶¶ 36-38) or California

6     Civil Code § 2987, (see Dkt. 20, FAC at ¶¶ 39-41), the Motions are denied. See, e.g., Cel-Tech

7     Commc'ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal.4th 163, 180-81 (1999) (describing the

8     UCL’s scope as “broad” and noting that, “[b]y proscribing any unlawful business practice, Bus. &

9     Prof. Code, § 17200, borrows violations of other laws and treats them as unlawful practices that

10    the unfair competition law makes independently actionable.”) (internal quotation marks omitted);

11    De La Torre v. CashCall, Inc., 854 F.3d 1082, 1085 (9th Cir. 2017) (same).

12    III.   CLASS ALLEGATIONS.

13           Finally, because “most courts decline to grant motions to strike class allegations prior to

14    motions for class certification,” Waterbury v. A1 Solar Power Inc., 2016 WL 3166910, *4 (S.D. Cal.

15    2016), the court will not strike plaintiff’s proposed class allegations.

16                                               CONCLUSION

17           Based on the foregoing, IT IS ORDERED THAT:

18           1.     Defendants’ Motions to Dismiss (Document Nos. 21 and 23) are granted in part

19    and denied in part. Plaintiff’s Cartwright Act and the UCL claim premised on a violation of the

20    Cartwright Act are dismissed with leave to amend. The Motions are denied in all other respects.

21           2.     Plaintiff shall file a Second Amended Complaint, attempting to cure the deficiencies

22    set forth above, as well as the other alleged defects outlined in defendants’ Motions, or a Notice

23    of Intent to Stand on First Amended Complaint (“Notice of Intent”), no later than October 11, 2022.

24    See WMX Techs., Inc. v. Miller, 104 F.3d 1133, 1135-36 (9th Cir. 1997) (“Unless a plaintiff files

25    in writing a notice of intent not to file an amended complaint, such dismissal order is not an

26    appealable final decision. In a typical case, filing of such notice gives the district court an

27    opportunity to reconsider, if appropriate, but more importantly, to enter an order dismissing the

28    action, one that is clearly appealable.”) (internal quotation marks omitted). The court expects that

                                                        9
 Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 10 of 11 Page ID #:350




1    defendants will agree to any amendments that will or attempt to cure the alleged defects.

2           3.     The second amended complaint must be labeled “Second Amended Complaint,” filed

3    in compliance with Local Rule 3-2 and contain the case number assigned to the case, i.e., Case

4    No. CV 21-8805 FMO (ASx). In addition, plaintiff is informed that the court cannot refer to a prior

5    pleading in order to make its Second Amended Complaint complete. Local Rule 15-2 requires that

6    an amended pleading be complete in and of itself without reference to any prior pleading. This

7    is because, as a general rule, an amended pleading supersedes the original pleading. See

8    Ramirez v. Cnty. of San Bernardino, 806 F.3d 1002, 1008 (9th Cir. 2015) (“It is well-established

9    in our circuit that an amended complaint supersedes the original, the latter being treated thereafter

10   as non-existent. In other words, the original pleading no longer performs any function[.]’”)

11   (citations and internal quotation marks omitted).

12          4.     Plaintiff is cautioned that failure to timely file a Second Amended Complaint or Notice

13   of Intent shall result in this action being dismissed without prejudice for failure to prosecute and

14   failure to comply with a court order. See Fed. R. Civ. P. 41(b); Link v. Wabash R.R. Co., 370 U.S.

15   626, 629-30, 82 S.Ct. 1386, 1388 (1962); Edwards v. Marin Park, Inc., 356 F.3d 1058, 1065 (9th

16   Cir. 2004) (“The failure of the plaintiff eventually to respond to the court’s ultimatum – either by

17   amending the complaint or by indicating to the court that it will not do so – is properly met with the

18   sanction of a Rule 41(b) dismissal.”); Ferdik v. Bonzelet, 963 F.2d 1258, 1260-63 (9th Cir. 1992)

19   (affirming dismissal for failure to file amended complaint as ordered by district court).

20          5.     Defendants shall file their answers to the Second Amended Complaint or a motion

21   pursuant to Fed. R. Civ. P. 12 no later than October 25, 2022.

22          6.     In the event defendants wish to file another motion to dismiss, then counsel for the

23   parties shall, on November 1, 2022, at 10:00 a.m.6 meet and confer in person, via video, or

24   telephonically to discuss defendants’ motions to dismiss. Defendants’ motions must include

25   copies of all meet and confer letters as well as a declaration that sets forth, in detail, the entire

26

27
            6
               Counsel may agree to meet and confer at another time without seeking court approval
28   for such an agreement.

                                                      10
 Case 2:21-cv-08805-FMO-AS Document 42 Filed 09/30/22 Page 11 of 11 Page ID #:351




1    meet and confer process (i.e., when and where it took place, how long it lasted and the position

2    of each attorney with respect to each disputed issue that will be the subject of the motion). Failure

3    to include such a declaration will result in the motions being denied.

4    Dated this 30th day of September, 2022.

5

6                                                                           /s/
                                                                   Fernando M. Olguin
7                                                               United States District Judge

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                      11
